                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION

JAMES MARABLE and KIM MARABLE,         *
                                       *
         Plaintiffs,                   *
                                       *     Case No. 3:12-cv-818
v.                                     *
                                       *     JURY DEMAND
Q CARRIERS, INC. and                   *
MANSON T. WILLIAMS                     *     Judge Sharp
                                       *     Magistrate Judge Knowles
         Defendants.                   *
                                       *
and                                    *
                                       *
STATE FARM MUTUAL AUTOMOBILE           *
INSURANCE COMPANY a/s/o JAMES W. *
AND KIM MARABLE,                       *
                                       *
         Plaintiff,                    *
                                       *
v.                                     *
                                       *
MANSON T. WILLIAMS and SUMMIT          *
EQUIPMENT LEASING, LLC,                *
                                       *
         Defendants.                   *
__________________________________________________________________________

       NOTICE TO TAKE VIDEOTAPE DEPOSITION OF MANSON T. WILLIAMS
__________________________________________________________________________

TO:     Clarence Risin, Esq.
        V. Austin Shaver, Esq.
        Baker, Donelson, Bearman, Caldwell & Berkowitz, PC
        211 Commerce Street, Suite 800
        Nashville, TN 37201

        Samuel A. Baron, Esquire
        Law Office of Samuel A. Baron
        1109 17th Avenue, S
        Nashville, TN 37212




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      Case 3:12-cv-00818 Document 24 Filed 06/27/13 Page 1 of 3 PageID #: 142
       Please take notice that pursuant to Rule 30.02 of the Federal Rules of Civil Procedure,

Plaintiffs’ counsel will take the video deposition of Defendant Manson T. Williams before a

qualified court reporter at the offices of Baker, Donelson, Bearman, Caldwell & Berkowitz, 3414

Peachtree Road, N.E., Suite 1600, Atlanta, Georgia 30326 beginning at 9:00 a.m. (EST) on

Wednesday, August 21, 2013.

       This deposition will be conducted upon oral examination before a court reporter and will

be videotaped. This oral examination will continue from day to day until completed.

       You are invited to attend and examine.


                                            Respectfully submitted,
                                            LAW OFFICES OF MORGAN G. ADAMS

                                            BY: /S/JOHN W. CHANDLER, JR.
                                                    JOHN W. CHANDLER, JR. BPR #06219
                                                    ATTORNEYS FOR PLAINTIFFS
                                                    1419 Market Street
                                                    Chattanooga, TN 37402
                                                    Telephone:    423-265-2020
                                                    Fax:          423-265-2025

                                 CERTIFICATE OF SERVICE

       I certify that a true and exact copy of the foregoing has been served upon the following
persons via the electronic filing system or U.S. Mail, postage prepaid, on this 27th day of June,
2013:

       Clarence Risin, Esq.
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    Case 3:12-cv-00818 Document 24 Filed 06/27/13 Page 2 of 3 PageID #: 143
  Metro Atlanta Court Reporting
  2992 Main Street West
  Suite 205
  Snellville, GA 30078

                                      /S/JOHN W. CHANDLER, JR




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Case 3:12-cv-00818 Document 24 Filed 06/27/13 Page 3 of 3 PageID #: 144
